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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


BRETT WALKER                                )
                                            )
              Plaintiff,                    )   Case No.: 1:20-cv-00498-JPB
                                            )
v.                                          )
                                            )
SUPERIOR PAYMENT SOLUTIONS                  )
CCS FINANCES                                )
MICHELLE KOWALICK                           )
FAHAD IQBAL                                 )
DEENPAL SINGH                               )
CYNTHIA NICHOLS                             )
ROLF LORENZ                                 )
                                            )
          Defendants.                       )
_______________________________             )

                           NOTICE OF SETTLEMENT

       Defendants hereby give notice that the Parties have reached settlement.

Plaintiff will be dismissing this Action. Each party shall be responsible for their

own costs and fees.

Dated:        August 31, 2020

                                /s Justan C. Bounds
                                Justan C. Bounds, Esq.
                                Ga. Bar No. 399789
                                Carlton Fields, P.A.
                                1201 W. Peachtree Street, Suite 3000
                                Atlanta, Georgia 30309
                                T: 400-815-3400
                                jbounds@carltonfields.com

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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically filed with the Clerk of Court using CM/ECF, which will send

notification to the registered attorney(s) of record that the document has been filed

and are available for viewing and downloading. An additional copy was sent to:

                                Brett Walker
                                435 Davis Road
                                Eastanolle, GA 30538

       This 31st day of August, 2020.
                                        /s/ Justan C. Bounds
                                        Georgia Bar No. 339789




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